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              4800 Atlanta Highr,vay
              Athens, GA 30006

              Dear Mr, Clyde:


             Thls ls an orulcr for
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            The number of svrorn ftrll tlme offlcers ln our departnrent
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            rnake arrests and carry flrearms rn the pcrfornranca of tlrelr
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            requlred to poy itr whole.or tn port
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            wlll be the property of department and are not Lelrrg acqulrecl ror
                                                                                      tiiu purpose of resale or trarsfcr, ancl
            they wlll be used to carry out lts offrclal responslbflrtles ancl
                                                                              durles.

        Thc telephone contact number for thls.departnrcnt ls (sl3) 467.361i

            Enclosed ls our depoilment purchose oruler
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       Slncerely yours,




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 ,    Dorlan D, LRCourse
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     Addyston Pollce Depar trnant




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